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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS

                                   SAN ANTONIO DIVISION


 LOGAN PAUL,

                                Plaintiff,
           v.
                                                          Civil Action No. 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                                Defendants.


           PLAINTIFF’S SECOND MOTION TO PRESERVE CONFIDENTIALITY
                                DESIGNATIONS

           Pursuant to Paragraph 11(a) of the November 15, 2024 Confidentiality and Protective

Order (“Protective Order” or “PO”) [Dkt. 22] entered in the above-referenced action, Plaintiff

Logan Paul moves this Court for an order preserving his designation of certain discovery materials

as “Confidential”:

           1.    On November 14, 2024, the Parties filed a Joint Motion for Entry of Protective

Order [Dkt. 21]. As that Joint Motion reflects, the parties agreed to, and jointly asked the Court

to enter, the proposed protective order attached to that Joint Motion.

           2.    On November 15, 2024, the Court entered the Protective Order as requested by the

Parties.

           3.    The Protective Order permits the Parties to designate certain materials exchanged

in discovery as “Confidential.” (PO ¶ 1.) One category of materials that “may be designated” as

confidential is “[c]orrespondence and other communications between the parties or with nonparties

… if the communication was made with the understanding or reasonable expectation that the

information would not become generally available to the public.” (PO ¶ 3(a).)


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        4.      Pursuant to the Protective Order, Plaintiff has designated as “Confidential” certain

correspondence between Plaintiff and non-parties regarding personal and/or business matters,

where such communications were made with the understanding and reasonable expectation that

they would not become available to the general public.

        5.      On February 11, 2025, Plaintiff filed his first Motion to Preserve Confidentiality

Designations (Dkt. 36) (“First Motion”). As set forth therein, Plaintiff filed his First Motion after

Defendants challenged Plaintiff’s designation of sixty-nine documents produced in discovery as

Confidential under the Protective Order. (1st Mot. ¶ 5.) In response and in a good faith effort to

minimize disputes before the Court, Plaintiff agreed to withdraw his designations as to most of

those materials. (Id. ¶ 9.) Plaintiff did, however, seek to preserve his Confidential designations

as to a limited subset of materials consisting of private correspondence between Plaintiff and

friends and/or business associates, which primarily concern personal or business matters other than

the CryptoZoo project or Defendants’ statements about same, which are the subject of this

litigation. (Id. ¶ 11.)

        6.      On February 4, 2025, Defendants’ counsel informed Plaintiff’s counsel that

Defendants were further challenging the designation of 189 documents from a supplemental

Plaintiff’s production as Confidential, necessitating this Second Motion. Consistent with the

approach in his First Motion, Plaintiff is seeking approval to preserve his designations as to only

97 of the disputed documents, which again consist of private correspondence between Plaintiff

and friends and/or business associates, which primarily concern personal or business matters other

than the CryptoZoo project or Defendants’ statements about same.

        7.      Accordingly, pursuant to Paragraph 11(a) of the Protective Order, Plaintiff requests

an order confirming and preserving Plaintiff’s confidentiality designations as to the




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communications produced in discovery with the bates numbers PAUL_CZ00006566,

PAUL_CZ00006575,   PAUL_CZ00006599,       PAUL_CZ00006635,    PAUL_CZ00006680,

PAUL_CZ00006706,   PAUL_CZ00006730,       PAUL_CZ00006758,    PAUL_CZ00006762,

PAUL_CZ00006790,   PAUL_CZ00006794,       PAUL_CZ00006814,    PAUL_CZ00006825,

PAUL_CZ00006855,   PAUL_CZ00006943,       PAUL_CZ00006955,    PAUL_CZ00006961,

PAUL_CZ00006998,   PAUL_CZ00007065,       PAUL_CZ00007078,    PAUL_CZ00007103,

PAUL_CZ00007124,   PAUL_CZ00007142,       PAUL_CZ00007174,    PAUL_CZ00007179,

PAUL_CZ00007271,   PAUL_CZ00007320,       PAUL_CZ00007329,    PAUL_CZ00007381,

PAUL_CZ00007389,   PAUL_CZ00007417,       PAUL_CZ00007432,    PAUL_CZ00007474,

PAUL_CZ00007484,   PAUL_CZ00007530,       PAUL_CZ00007538,    PAUL_CZ00007567,

PAUL_CZ00007594,   PAUL_CZ00007613,       PAUL_CZ00007615,    PAUL_CZ00007621,

PAUL_CZ00007633,   PAUL_CZ00007666,       PAUL_CZ00007684,    PAUL_CZ00007695,

PAUL_CZ00007699,   PAUL_CZ00007723,       PAUL_CZ00007774,    PAUL_CZ00007783,

PAUL_CZ00007815,   PAUL_CZ00007891,       PAUL_CZ00007908,    PAUL_CZ00007959,

PAUL_CZ00007965,   PAUL_CZ00008044,       PAUL_CZ00008063,    PAUL_CZ00008083,

PAUL_CZ00008107,   PAUL_CZ00008164,       PAUL_CZ00008183,    PAUL_CZ00008233,

PAUL_CZ00008274,   PAUL_CZ00008279,       PAUL_CZ00008330,    PAUL_CZ00008347,

PAUL_CZ00008426,   PAUL_CZ00008558,       PAUL_CZ00008575,    PAUL_CZ00008580,

PAUL_CZ00008595,   PAUL_CZ00008623,       PAUL_CZ00008672,    PAUL_CZ00008676,

PAUL_CZ00008694,   PAUL_CZ00008725,       PAUL_CZ00008826,    PAUL_CZ00008844,

PAUL_CZ00008890,   PAUL_CZ00008898,       PAUL_CZ00008922,    PAUL_CZ00008957,

PAUL_CZ00008961,   PAUL_CZ00008971,       PAUL_CZ00008995,    PAUL_CZ00009046,

PAUL_CZ00009075,   PAUL_CZ00009107,       PAUL_CZ00009147,    PAUL_CZ00009157,




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PAUL_CZ00009162,         PAUL_CZ00009180,            PAUL_CZ00009219,         PAUL_CZ00009253,

PAUL_CZ00009262, PAUL_CZ00009272, PAUL_CZ00009333, PAUL_CZ00009362.

       8.      As set forth in the Declaration of Plaintiff Logan Paul attached hereto as Exhibit A,

all of these materials consist of private correspondence between Plaintiff and friends and/or

business associates. (Paul Decl. ¶ 3.) These communications primarily concern personal or

business matters other than the CryptoZoo project or Defendants statements about same, which

are the subject of this litigation. (Id.) All of the communications at issue were made with the

understanding and reasonable expectation that they were private correspondence and would not

become generally available to the public. (Id. ¶ 5.)

       9.      Plaintiff is submitting with this Second Motion an appendix listing and attaching

the communications at issue.

                                         CONCLUSION

       Plaintiff requests that the Court grant this Motion and order that Plaintiff’s confidentiality

designations as to the materials at issue may be preserved as they are warranted under the plain

language of Paragraph 3(a) of the Protective Order.


February 18, 2025                             /s Andrew C. Phillips
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the February 18, 2025, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all counsel

of record who are deemed to have consented to electronic service.

                                                     /s Andrew C. Phillips




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